Case: 1:15-cv-05989 Document #: 27 Filed: 12/09/15 Page 1 of 3 PagelD #:78

In the United States District Court
For the Northern District Of Illinois
Eastern Division

 

David Morales,
Plaintiff,
v. 15-cv-05989
Judge John J. Tharp, Jr.
Mangia Fresca, Inc., and Paul Magistrate Judge Susan E. Cox
Impallaria,
Defendants.

Defendants’ Motion for Approval of Settlement Agreement

Defendants submit pursuant to Fed.R.Civ.P. 41(a)(2) their Motion for Approval of
Settlement Agreement, which plaintiffs do not oppose:

1, On July 8, 2015, plaintiff filed his Complaint against Mangia Fresca for overtime
compensation under the Fair Labor Standards Act (FLSA), 29 U.S.C. § 201, et seq., Illinois
Minimum Wage Law (IMWL), 820 ILCS 105/1 ef seg., and Hlinois Wage Payment and
Collection Act (IWPCA), 820 ILCS 115/1 et seq. (Doc. 1.)

2. The FLSA claim (Count I) is brought on behalf of plaintiff and all other persons
similarly situated, known and unknown. The IMWL and IWPCA claims, which are respectively
Counts JI and III, are brought individually against both defendants.

3, While one opt-in,’ Israel Perez, filed a consent to join as a plaintiff on the FLSA
claim (Doc. 22), no motion has been submitted or order entered to conditionally certify the claim
as a collective action.

4, On September 18, 2015, defendants filed their Answer to the Complaint. (Doc.

18.) In their Answer, defendants deny plaintiff was entitled to overtime, and therefore denied he

 

' Morales also filed his opt-in consent with his Complaint.
Case: 1:15-cv-05989 Document #: 27 Filed: 12/09/15 Page 2 of 3 PagelD #:79

was owed back wages, and alleged the affirmative defense that plaintiff managed Mangia
Fresca’s operations and therefore was an exempt executive (or, alternatively, an administrative)
employee.

5. While defendants deny plaintiff is entitled to overtime compensation, they have
offered—solely for purposes of minimizing litigation expense—to pay him the full amount of
overtime he claims, as well as his attorneys’ fees and court costs, which plaintiff has accepted.

6. Defendants dispute the amount of overtime claimed by the opt-in plaintiff, Perez,
but have agreed to pay him the full amount of overtime compensation he claims. No additional
attorneys’ fees and court costs will be sought in connection with the opt-in plaintiff. The opt-in
plaintiff has accepted that offer.

7. The parties have signed a written, confidential Settlement Agreement (“the
Agreement”). Because the Agreement is confidential, defendants request the Court to review it in
camera.

8. The parties and their respective counsel believe the Agreement is a fair and
reasonable settlement of a bona fide dispute under the FLSA (and under the IMWL and
IWPCA), since it provides for full payment of overtime compensation that is disputed both as to
entitlement and amount.

Therefore, defendants request that the Court grant this Motion for Approval of Settlement
Agreement and enter the proposed Order Approving Settlement and Dismissing Case, which is

attached as Exhibit A.
Case: 1:15-cv-05989 Document #: 27 Filed: 12/09/15 Page 3 of 3 PagelD #:80

Mangia Fresca, Inc. and Paul Impallaria

By: s/Arthur Sternberg
One of Their Attorneys

Arthur Sternberg
Michael Duffee
Thompson Coburn LLP

55 E. Monroe, 37th Floor
Chicago, IL 60603
(312) 580-2235
